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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TARA JOHNS                                       :           CIVIL ACTION
                                                 :
           vs.                                   :
                                                 :
MARMAXX OPERATION CORP.                          :           NO. 18-1853

                                            ORDER


               AND NOW, TO WIT:             30th      day,                July     2018,
it having been reported that the issues between the parties in the above action has been settled
and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of
Civil Procedure of this Court , it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.




                                                  Kate Barkman, Clerk of Court

                                               s/Marie O’Donnell
                                            BY: _________________________
                                                    Marie O'Donnell
                                                     Civil Deputy/Secretary


Civ 2 (8/2000)
41(b).frm


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